Case 1:18-Cv-OOOll-AB.] Document 3,5 Filed 01/26/18 Page 1 of 89

UN|T_ED STATES DlSTR|CT COURT

THE DlSTR|CT OF COLUN|B|A
Movant David Andrew Christenson Civ. No. 1:18-cv-00011
Pau| J. Manafort Jr. COMPLA|NT FOR DECLARATORV AND
P|aintiff lNJUNCTlVE RELlEF
v.

R E C E l \! E D

United States Department of Justice
Acting Attorney General Rod J. Rosenstein JAN 26 ng
Special Counse| Robert S. Mueller Clerk~ U-S' mmin & Bankruptcy

Courts for the District of Columbia

Supplemental Nlotion to |ntervene and Join

P|ease incorporate the Motion to intervene filed by Freedom Watch/Larry Klayman on January 23'd,
2018: Case 1:18-cv-00011-ABJ Document 9 Filed 01/23/18 Page 1 of 6. lt would be discriminatory,
prejudicial and arbitrary to deny me my Constitutional Right to file my original Nlotion to |ntervene and
loin and this Supplemental Motion to |ntervene and join. The court has allowed Freedom Watch/Larry
Klayman to publicly docket their Motion because Klayman is an attorney. The court is picking and
choosing who has Constitutional Rights in a discriminatory, prejudicial and arbitrary process. The
Constitution, Federal Law and the Rules of Civil Procedure clearly allow me the right to file these
Motions. l have standing and cause. Federal Rules of Civil Procedure (FRCP) Rule 24 governs intervention
by additional parties in existing litigation in the federal courts. Refusing to publicly docket my Motions is
Ta nta mount to Treason.

Here is what is most grotesque. Freedom Watch/Larry Klayman’s lV|otion is politically motivated. My
Motions are motivated by the oath that l took to protect the Constitution and the American People.
Why does the devil get his clay in court and me and the American People do not?

The Supreme Court has been censoring me and in turn the American People for years. We are talking
about the Genocide of Mankind. | have filed Amicus Briefs with the Supreme Court but the Court refuses
to docket them. Please review just the first two pages of an Amicus Brief that l filed in 2012. The
Preamble is critical. | beg you to take a moment to read the Preamble as it is very enlightening because
it applies to all Federal Judges and all Americans. Censorship has destroyed our country.

This court has started that there are other forums but in fact there are not. Here is a perfect example.

Not one media outlet has reported that the United States has an influenza and pneumonia epidemic.

The epidemic is 15.5% above the level that is set by the CDC. How many Americans will die from this
preventable disease/malady before the Federal Judiciary wakes up? This epidemic was reported by the

CDC on January 19th, 2018 for the period that ended December 30th, 2017. Goog|e influenza and

pneumonia epidemic and see that there are no news stories.

https://www.cdc.gov/flu/weekly/index.htm ` `"`“‘°"““*‘?
Pneumonia and lnfluenza (P&l) Mortality Surveillance:

*`*z ”“6')@'3'

Case 1:18-cv-00011-AB.] Document 15 Filed 01/26/18 Page 2 of 89

Based on National Center for Health Statistics (NCHS) mortality surveillance data available on January
18, 2018, 8.2% of the deaths occurring during the week ending December 30, 2017 (week 52) were due
to P&|. This percentage is above the epidemic threshold of 7.1% for week 52.

Background: Weekly mortality surveillance data include a combination of machine coded and manually
coded causes of death collected from death certificates. Percentages of deaths clue to P&l are higher
among manually coded records than more rapidly available machine coded records. Due to the
additional time needed for manual coding, the initially§ reported P&l percentages may be lower than
percentages calculated from final data. Previous longer backlogs in manual coding have been resolved
and death records are now coded within 10 days from receipt of a death record by NCHS.

Region and state-specific data are available at http://gis.cdc.gov/grasp/fluview/mortality.html.

l have also attached a copy of the letters that l sent to the Eastern District of Virginia and District of
Columbia Special Grand Juries that have been convened by Special Prosecutor Robert lV|ueller.

Attached is the original Motion to |ntervene and Join that l filed on January 6"‘, 2018.

Godspeed

 
 
 
 
 

Sincerely,

David Andrew Christens
Box 9063

Miramar Beach, Florida 32550
504-715-3086
davidandrewchristenson@gmail.com
dchristenson6@hotmail.com

  
 
 

| hereby certify that on Januar ' ' ed the foregoing with the C|erk of Court and
served the p|e ding »

 

David Andrew Christenson

Case 1:18-Cv-00011-AB.] Document15 Filed 01/26/18 Page 3 of 89

No. 11-1200 ac

IN THE

Supreme Court of the United States

Tash Hepting, et. al., Petitioners,
v.
AT&T Corporation, et. al.
Respondent.

On Writ of Certiorari to the United States Court of Appeals for the Ninth Circuit
AMI(.'US CURIAE BRIEF OF DAVID ANDREW CHRISTENSON AND DAVID ANDREW
CHRISTENSON ON BEHALF OF THE SUPREME COURT OF THE UNlTED STATES OF AMERICA
(AS AN INSTITUTION AND THIRD BRANCH OF THE FEDERAL GOVERNMENT], THE FEDERAL
|UDICAR¥, EMPLOYEES AND FAMILY MEMBERS OF THE FEDERAL ]UDICARY AND ALL
AMERICAN CITIZENS.

David Andrew Christenson
Pro Se
Box 9063
9815 US Highway 98 West
BC 156
Miramar Beach, Florida 32550
504-715-3086
davidandrewchristenson@hotmail.com
“THE RELUCTANT PATRIOT"

Classified as a terrorist by the Department of justice

Case 1:18-Cv-00011-AB.] Document,15 Filed 01/26/18 Page 4 of 89

PREAMBLE

THE SUPREME COURT MUST |SSUE AN ALL ENCOl\/|PASS|NG LANDMARK DEClSlON (9-0). This Wll|
serve the Supreme Court, the Justices and all Americans. The landmark decision must be punitive so as
to prohibit current and future criminal activity by the Executive Branch.

There is an all-out ideological and criminal war being conducted by the Executive Branch against
the Judicia| and Legislative branches of our Federal Government as well all Americans. How can and
does the Supreme Court's Marshal Service protect the Justices and the Court from these ideological and
criminal attacks? Every aspect of the life of a Supreme Court justice is under attack. There is no escape.

The criminal activity in this case was perpetrated against the Supreme Court, the Justices and all
Americans. This is the tip of the iceberg. Since the filing of the original lawsuit, immunity has been
granted to those that participated in the willful and intentional criminal activity. Would the Justices
really consider approving of immunity for those people that harmed the Supreme Court?

The Supreme Court must regains its' position as the protector of the Constitution and all Americans.
The Executive Branch has isolated the Supreme Court and the end result is that the Court has become a
non-entity and irrelevant in judicial matters concerning criminal law, terrorism and war. The Executive

Branch uses the pretense of Patriotism as a means to sway the court.

STATEMENT OF FACT: The Supreme Court, the Justices, employees of the Supreme Court and the
Federal Judiciary and all of their family members are all under surveillance by the Executive Branch. The

United States Congress is under surveillance as wel|. Agencies within the Executive Branch are spying on
each other.

Civil Disobedience is now classified as terrorism.

PREM|SE
This is an Amicus Brief (ac) that supports neither party.
The Amicus Brief is drafted by a Federal Whistleblower who happens to be an officer in the
United Sates Air Force. (A ”regular’ commission places Constitutional Responsibility on an officer

weather he is on active duty or not.)

All Americans would and could be a party to this writ. This includes all Supreme Court Justices,
employees and families as well as all members of the Federal Judiciary and their family members.

Case 1:18-cv-00011-AB.] Documentf15 Filed 01/26/18 Page 5 of 89

(Specia|) Grand Jury being used by Special Counsel Robert Mueller January 16"‘, 2018
United States District Court for the District of Columbia
United States District Court for the Eastern District of Virginia

Jury Members,

The evidence, Genocide, of criminal conduct by Special Counsel Robert Mueller and his team of
prosecutors that you are about to review is unbelievable and yet it is factual, documented and
verifiable. You are Mankind’s last hope.

The Federal Judiciary, including the Supreme Court, are active participants in the criminal enterprise that
will result in the Genocide of Mankind.

My name is David Andrew Christenson (Federal Whistleblower and l\/li|itary Officer) and l have filed, in
accordance with the Constitution and specifically the last sentence of the First Amendment, “and to
petition the Government for a redress of grievances" multiple Motions to |ntervene in this court as well
as other courts on behalf of the American People and that includes you and your family.

Mankind will cease to exist by October 12th, 2050. This is not a prophecy or prediction but a
mathematical certainty.

Special Counsel Robert Mueller currently has three criminal cases filed and has one civil case filed
against him. The court refuses to publicly docket my Motions and more importantly they have refused
to publicly docket my Notices of Appea|. l am fighting to save my country and Mankind and the court has
censored me. The Constitution, Federal Law and precedent grant me the right to publicly file such
Motions, Notices and Grievances.

Please review the docket for each of the cases.

The prosecutors that are presenting evidence to you are some of the evi|est people on this planet. They
make Hitler look like a Saint. Your loved ones will pay the ultimate price for the cover up that is taking
place. | beg you to save your family, your country and Mankind.

Godspeed.

Sincerely,

David Andrew Christenson

P.O. Box 9063

Miramar Beach, Florida 32550
504-715-3086
davidandrewchristenson@gmail.com
dchristenson€@hotmail.com

Case 1:18-Cv-00011-AB.] Documentle Filed 01/26/18 Page 6 of 89

UNlTED STATES DlSTR|CT COURT
THE DlSTRlCT OF COLUMB|A

Movant David Andrew Christenson Civ. No. 1:18-cv-00011 Plaintiff

Paul J. Manafort Jr. COMPLA|NT FOR DECLARATORY AND
P|aintiff |NJUNCTlVE RELlEF

V.

United States Department of Justice
Acting Attorney General Rod J. Rosenstein
Special Counsel Robert 5. Mueller

Motion to intervene and Join

Movant David Andrew Christenson incorporates Plaintiff Paul .l. Manafort’s Complaint for Declaratory
and |njunctive Relief. Case 1:18-cv-00011 Document 1 Filed 01/03/18 Page 1 of 17

ln the interest of Justice and to save judicial resources Movant moves the court to grant his Motion.
David Andrew Christenson was preparing a complaint to be filed with the court and has stayed that

process until the court rules on this Motion. lt seems prudent that only one complaint of this sort be
filed.

Movant has standing and cause as well as Constitutional Authority to file this Complaint.

The overriding precedent is that the American People have a Constitutional Right to this incriminating
information.

The United States Court of Appeals for the Fifth Circuit docketed the attached pleading/motion which l
am incorporating into this Motion (5th Circuit Case: 17-30831 Document: 00514268351 Page: 1 Date
Filed: 12/11/2017). Within the pleading are Motions to intervene that the District Court for the District
of Columbia refused to docket. There is now an official court record. Both the DC District Court and the
DC Appellate Court refused to docket my Notices of Appeal.

The Constitution, First Amendment, last sentence of the First Amendment (”and to petition the
government for a redress of grievances.”), Federal Law, Federal Case Law, Precedent, etc. grant me to
the right to file this pleading and to have it entered into the public court record.

Special Counsel Robert Mueller is poisonous fruit and anything he prosecutes is defective. Robert
lVlueller has continually abused his authority throughout his career as a US Prosecutor, FB| Director and
now as Special Counsel. | have provided to the court factual, documented and verifiable proof of Robert
l\/lueller’s criminal conduct as well as that of the Department of Justice.

There is no legal authority to deny the public docketing of this pleading lt would be truly criminal to
deny the American people access to this information.

Precedent Cases (A small sample)

Case 1:18-cv-00011-AB.] Document 15 Filed 01/26/18 Page 7 of 89

Press Enterprise v. Superior Court: Access to Criminal Proceedings, First Amendment and Common l.aw
guarantee the public's right of access to criminal judicial proceedings

Nixon v. Warner Communications: The courts recognize the public's right to inspect and copy judicial
records.

Washington Post v. Robinson: The public has an unquestionab@ght to information regarding alleggc_l
prosecutor misconduct The term is “alleged". There is no doubt the Federal prosecutors have
committed criminal acts.

Leucadia v. Applied Extrusions Techno|ogies: Access

Belo Broadcasting v. Clark: Access

Globe Newspa per v. Superior: The right of the public to monitor the government bv having_access.
Richmond Newspa per v. Virginia: Without publicitv, all other checks are insufficient

Va|ley Broadcasting v. United States District Court: Federal Whistleblowers, Military Officers, Journal@¢
etc. play an indispensable role in gathering and disseminating information to the public.

Landmark Communications v. Virginia: T_oguar@gainst the miscarriage of justice. To stop mosecutor
misconduct before, during and after.

Cox Broadcasting v. Cohn: My pleadings will guarantee a fair tria|.

Pansy v. Stroudsburg: Third parties have a right to intervene

|n re Associated Press 162 F.3d 503, 507 7th Circuit 1998, Grove Fresh Distributors v. EverFresh Juice, Beef
industry Antitrust Litigation 589 F.2d 786, 789 Sth Circuit, United States v. Andreas, United States v.
Corbitt, United States v. Chaagra, United States v. Lohman, |\/larcus v. St. Tammany Parish School Board,
United States v. Cleveland, United States v. Davis, United States v. Caroll|o and Ford Motor Bronco ll MDL

   

Godspeed

 

 

Miramar Beach, Florida 32550
504-715-3086
davidandrewchristenson@gmail.com
dchristenson6@hotmail.com

 

  

 

David Andrew Christensonv

 

Case 1:18-cv-00011-AB.] Documentt15 Filed 01/26/18 Page 8 of 89
Case: 17-30831 Document: 00514268351 Page: 1 Date Filed: 12/11/2017

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' UNlTED Si'ATES COURT OF APPEALS
FCR THE FiFTH CIRCUIT

 

Appellant (Movant) Mr. David Andrew Christenson
Adrian Caliste v. Harry Cantrei| 17-30831
USDC No. 2:17-CV-6197 Complaint-Class Action

Motion for Reoonsideration
Of Dismissal

The court dismissed my appeal on December 4"', 2017.

There was never a hearing therefore there was no transcript to order.

i Move the Court to Reinstate the Appeal.

lt is imperative that this appeal be allowed to proceed. This appeal is connected to the General Michael
Flynn, Paul Manafort, Richard Gates and George Papadopoulos criminal cases that are being prosecuted
by Special Prosecutor Robert Mueller. | have attached two very important documents

Attachment 1: Whe District Court for the District of Columbia reassigned the General Michael Flynn case
to judge Emmet G. Su|livan from judge Rudolph Contreras. The court stated that it was random but in
fact it was not. Al| that was left in the case was the sentencing. This is very important because it was
Judge Emmet G. Suilivan that presided over the Senator Ted Stevens criminal case that was vacated
because of criminal prosecutor misconduct

Attachment 2: This is my Motion to intervene in the General Michael Flynn criminal case.

Attachment 3: This is my Supplemental Motion to intenrene in the General Michael Flynn criminal case.

 

Box 9063
Miramar Beach, Fi. 32550
davidandrewchrist nson hotmail.com

 

dchrigenson€@hotmail.com
504-715-3086

i certify that all parties and then some were noticed by emaii. December 8”‘, 2017.

 

 

Case 1:18-Cv-00011-AB.] Document,15 Filed 01/26/18 Page 9 of 89

 

Case:17-30831 Document:00514268351 Page:2 Date Filed:12/11/2017

§

Case 1:17-cr-00232-EGS Documem 9 Fiied 12/07/17 Page 1 of 1
Reic 1I2017

UNlTED STATES DlSTRlCT COURT
FOR THE DlSTRlCT OF COLUMB|A

UNlTED STATES OF AMER|CA
VS- Criminai No. 17-232 (EGS)

MlCHAEL T. FLYNN emory A

oerendam(s)
REASS|GNMENT QF CR|M|NAL CASE

12/7/17 from Judge Rudolph Confreras

 

The above-entitled ease was reassigned on

_L'\

to wng Emmet L"' Sumva'_‘ by direction of the Caiendar Committee.

(Randomiy Reassigned)

NUE_ELLE_N_§,.M
Chair, Caiendar and Case

 

Management Committee
cc: Judge Rudolph Contreras & C°um.o°m Deputy
Judge Emmet G. Suiiivan & Courtroom Deputy

 

U.S. Attorney's Oiiioe - Judiciary Square Bui|ding. Room 5133
Statisti¢zi Cielk

 

 
 

 

 

 

 

 

 

 

     

 

  

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Case 1:18-cv-00011-AB.] Document 15 Filed 01/26/18 Page 11 of 89

 

 

Case: 17-30831 Document: 00514268351 l`:’age: 4 Date Filed: 12/11/2017

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UNlTED STATES DlSTRlCi' COURT
THE DlSTRlCT OF COLUMB|A
United States of America Criminai Docket No. 1:17-cr-232
v. Judge Rudolph Contreras
Michael T. Flynn
Defendant

Motion to |ntervene/Friend of the Court Brief/Amicus Brief

>MMMWMJ
Mbbmmc

l can file this Motion because | am a victim of Robert Mueller's criminal misconduct.

 

l want irreversible justice in accordance with Constitution and on behalf ofthe American People. took at
the number of criminal cases in New orleans that were reversed on Appeal because of criminal
prosecutor misconduct Danziger and Glover were two of the biggest Civil Rights cases from the last
thirty years. Many of the defendants were ultimately found not guilty or had major reductions in their
sentences Glover ended up with just one conviction. (A plea deal was entered into before trial that
excluded evidence, i will elaborate on this latter.)

Tne greatest political and legal transgression of my life was when President Ford pardoned Presldent
Nixon. leon resigned before being impeached and was pardoned before he was indicted. This
catastrophic event denied all Americans the truth (Their Constitutional Rights) and had ripple (isunami)
effects that are felt today.

>WMM£W

What if Trump starts to pardon individuals? He could pardon Flynn and Papadopoulos today as well as
Manafort and Gats because the precedent was set by Ford. Would Flynn and i’apadopouios have to
cooperate and testify? Remember that the DOJ dropped the case against Fred Heebe/River Birch Landfiii
New Orleans before he was ever indicted because of criminal prosecutor misconduct Nixon was never

called to testify.)

in my book the first few words are: 'An Eplc Constitutional Crisis. l am talking about the political
destruction of all three branches (Executive, Judicial and Legislative) of our Federal Govemment." l
believe this more today then when i wrote the book five years ago.

 

 

Case 1:18-cv-00011-AB.] Document 15 Filed 01/26/18 Page 12 of 89
"` Case':`17_-30831 Document '00'5'1'4268351 Page:`5 Date Filed: 12/11/2017

 

This narrative may be a little incoherent and disjointed but please give it a chance.

First Amendmentl Fourth Amendment, Fifth Amendment, Fourteenth Amendment, Exc|usionary Rule
and Fruit from a poisonous Tree.

Has Criminai Prosecutor Misconduct taken piace? Papadopouios and Flynn have entered into plea deais.
What evidence, legal or illegai, did Special Prosecutor Robert Mueller have to entice or intimidate them
into pleading guilty and how was that evidence obtained? Any information or testimony provided by
Flynn and Papadopouios will be Poisoned Fruit that can never be used again in any criminal triai. Trump
could never be prosecuted. All defense attorneys have a right to this information and so do the
American People.

if Mueller obtained the guilty pleas with Poisoned Fruit then ali prosecutions and convictions will be
tainted and thus thrown out.

Mueller has a history of prosecutorial misconductn The indictment, plea agreement and statement of
offense are all riddied with poisoned fruit. Mueller's arrogance is unbelievabie. Simple common sense
tells you that something is very, very wrong.

Lt. General Michai Flynn is having a private conversation with the Russian Ambassador. Here is the
Constitutional Question. Did Flynn have a presumption of privacy? How did Mueller come by the
evidence that he needed to force Flynn to accept the plea deal? Was it the FBi, NSA, etc. who provided
the electronic recording? The Ambassador has diplomatic immunity and in essence is not governed by
our iaws. What kind of investigation was he under. There was no way he could ever be prosecuted so
why was his conversation with Flynn being recorded? Mueller admits that he did not know at the time
of Flynn's interview that Flynn |ied. How do you suppose he developed that information? Anything
besides an electronic recording would be hearsay and an electronic recording without a warrant would
be illegai. This could be considered entrapment it reminds me of the Scooter Libby case, even the
commuting of h' sentence Libby did nothing wrong.

Why was President Eiect Trump not informed of the Russian investigation? The transgressions of Flynn
and Papadopouios happened after the election. This is a major Constitutional issue which needs to be
addressed.

A President Eiect starts to call world leaders the day he is eiected. Do you see the problem?

During the campaign both parties held talks with other world leaders. l believe both travel abroad.

Precedent Cases (A small sample)

Press Enterprise v. Superior Court: Access to Criminai Mm Erst mm ag mmon Law
rantee the s of access to crim al udidal
Nixon v. Wamer Communications: The cong me the guic's m go iM and gm igjcial

ceases

 

Case 1:18-C\/- -00011- AB.] Document 15 Filed 01/26/18 Page 13 of 89

 

 

Case:17-30831 Document:00514268351 Page: 6 DateFiled:12/11/2017

 

Leucadia v. Applied Extrusions Technologies: w

Belo Broadcasting v. Clark: w

Globe Newspaperv- Superior- MMMHMM
Richmond Newspaer Virginia: MQMML__MQM

Vallev Bmadcastmgv. united Siaves District Court MMMLM_¢
Landmark Communicath v. Virginia: Tg gggg against the militang of |umce. To M Mcu_tor
miamvsi_m.iiudnsmmc

Cox Broadcasting v- Cohn= MM-

Pansv v- Str°udsburs= Mmhm_emin_texscs-
ln re Associated Press 162 F.3d 503, 507 7th Circuit 1998, Grove Fresh Distributors v. EverFresh .iuice, Beef

industry Antitrust litigation 589 F.2d 786, 789 5th Circuit, United States v. Andreas, United States v.
Corbitt, United States v. Chaagra, United States v. Lohman, Marcus v. St. Tammany Parish Schooi Board,
United States v. Cleveland, United States v. Davis, United States v. Carol|lo and Ford Motor Bronco il MDL

 

The Danziger Civil Righls Case in New Orleans after Hurricane Katrina. The Department of Justice had an
electronic recording of what took place on the Danziger Bridge that day. The agreement between the
defendants and prosecution was that the electronic recording would not be used and in exchange there
would be no death penalty. The DOJ wanted a coverup conviction and not a murder conviction. They were
hoping that the policemen would get 6 - 8 years for the cover-up and not the 65-year prison sentences
that they got. God worked in a very mysterious way and gave the 001 a World Series Winning Grand Siam.
FB| Direcwr Robert Mueller hedged his bet and assigned a two-year, non-investigator, to the case. The
agent was convincing and became more convincing when he lied on the witness stand. This becomes
exponentially more complicated because of the following: the US Navy was at the Danziger Bridge
conducer illegal operational missions within the United States. American Sniper Chris Kyle actually
bragged about murdering Americens in New Orieans. SEAL Team 22 from the Stennis Space Center, north
of New Or|eans on the Peari River, committed genocide against our fellow Americans in violation of the
Constitution and the Posse Act. it was Mueller's agents that were instrumental in covering up the murders.

Attachment 1: DC District Court .ludge Amy B. iackson denied my Notice of Appeal that l died with the
United States Court of Appeals for the District of Columbia. i-low can a District Court .iuQe deny an
Appellate Court Pleading? How did .iudge jackson even get the Notice of Appea|?

Attachment 2: DC District Court Judge Amy B. lackson denied my Notice of Appeal.

Reference Attachment 3: Judge .lackson states: "he must seek lt from the Court of Appeais by filing an
appeal of those rulings. Signed by .iudge Amy Berman Jackson on 11/29/17. (DMK) (Entered:
11/29/2017)" i-iow can l seek relief if she denies my Constitutional Right to Appeai?

Fiied in the Manafort/Gates case. Listed in reverse order. Other Federal District Court and Appeal Courts
have docketed these pleading

Attachment 3: Docket Conection in the interest of Justice.

Attachment 4: Friend ofthe Court Brief/Amicus Brief/Appeal/Memorandum in Support of Motion to
lntervene.

Attachment 5: Notice of Appeal

Attachment 6: Motion for Reconsideration

 

Case 1:18-cv-00011-AB.] Document 15 Filed 01/26/18 Page 14 of 89

 

 

CaSeZ 17-30831 Document 00514268351 bagei 7 Date Filed: 12/11/2017

Attachment 7: Motion to intervene

Godspeed
Si

stenson
Box 9063
Miramar Beach, Florida 32550
504»715-3086
da ° nd ' il.com

d__ci§teMmmmaMr.c

 

 

David Andrew Christenson

 

 

Case 1:18-Cv-00011-AB.] Document 15 Filed 01/26/18 Page 15 of 89

 

 

Case:17-30831 Documeni:00514268351 ]Page:B` Date Filed:12/11/2017

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David Andrew USCOADCC: 17-
United States ofAmerica DCDC Criminai Docket No. 1:17-cr~201
(Am/nAR)
v. lodge Amy Bennan .iackson
Paul i. Manafort and Richard W.
ve to file DE IED
cates m {| l'Ll) l lq-’
Defendants
Amy al J Date
Notice orgale umw sum District Judge... .-
November , 2017 \
il\i. Cil\-z\t\i>o ii TW~

Please reference the attached letter to District of Columbia district Court Judges concerning the criminal N\b\)u

violation of my, and ali Americans. Constitutional Rights to be Heard. .\"
`§ to
Special Counsel Robert Mueller criminally violated my Constitutional Rights and thus criminally violated `
do

all American's Constitutional Rights.

Mueller is a pathological criminal who is heil bent on destroying America. His cover up ofwhat took P a m
place in New Orieans signals the end of our country. He is the trigger man that murdered Mankind. _¥r.\“"b

Col-

 

IB

 
 

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v David Andrew Christenson

 

Case 1:18-Cv-00011-AB.] Document 15 Filed 01/26/18 Page 16 of 89

 

Case:17-30831 `ijocUmérW:-65514268351 Page:9 Date Filed: 12/11/2017

v

Case 1517-Cr~00201-ABJ D~i ¢ Filed 11/16/1.7 Page 1 Of 9

Attachment 2

  
 
 
    

UNlTED STATES DlSTRlCT COURT
THE DlSTRlCT OF COLUMBlA

  
  

United States of America
v. AmyBerman iacl:son

Paul J. Manafort and Richard W.
Gates ill
Defendants

Notice of Appeal
November 7"', 2017

Please reference the attached letter to District of Columbia District Court Judges concemirg the criminal
violation of my, and all Americans. Constitutional Rights to be Hcerd.

Special Counsel Robert Mueller criminally violated my Constitutional Rights and thus criminally violated
all American's Constitutional Rights.

Mueller is a pathological criminal who is heil bent on destroying America. Hls cover up of what took
place in New Orieans signals the end of our country. He is the trigger man that murdered Mankind.

§ZL'"°"""X°E. E° ;¢/m (i:}_

my . Dlt€
United States Dlei'lCt Judge

lU¢sA`\¢t §§\).\\ilg¢l ii Sl.»‘ucLL u,'\.i
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bye-mail and first-class mail.

 
   

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David Andrew Christenson

_-"Emr"

 

 

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Attachment 3

 

Everything that Special Counsel Robert Mueller is connected to is tainted. (Muel|er failed in the Anthrax
investigation, that he directly oversaw, but not before he destroyed Steven Hatlili's life. Hathll was a
virologist at the U.S. Army's laboratories at Fort Detrick, Md. and a victim of Mueller's criminal conduct
and repeated violations of the Constitution. The government paid him 5.8 million dollars to setde with

him)

Two Famous Quotes by EDLA judge Kurt Engeihardt in the Danziger Civil Righis case.
`ihe “Hom Report' was prepared in this case because of criminal prosecutor mismnduct.

Engeihardt wrote that he actually said: "Using liars lying to convict liars is no way to pursue justice.“

Engeihardt added in die footnote that the cooperating defendants were "purchased, bougit and paid
for" with more lenient sentences. ”Mr. Perez's comment misses the point,' Engeihardt concluded.

The two quotes were directed at Attorney General Eric i-ioider, Civil Rights Assistant Attorney General
Thomas Perez and FBl Director Robert Mueller. perez is morally bankrupt and yet he is running the
Democratic party. The cancer is systemic. The Court must honor their Constitutional Mandate and allow

me to be heard.

Over 100 grams of immunity and or reduces sentences were given in exchange for false evidence and
false/perjured tstlmony. `ihere were only six convictions via trial. Muel|efs FB| Agents lied on the
witness stand. This is fact. Study the Free Heebe criminal case.

judge jackson refused to docket my Notice of Appeal and my Appeals and yet she acknowledges their
existence. She wrote this: "and if the movant seeks relief from this Court's rulings, he must seek it from
the Court of Appeals by filing an appeal ofthose rulings. Signed by judge Amy Berman jackson on
11/29/17. judge jackson and the court have denied me the right to file an appeai. My Notice of Appeal
must be publicly dodceted. How will Americans know what l am appealing if there is no public record?

judge jukson states that: "notlng that the Federal Rules of Criminai procedure do
not provide for intervention in a criminal case." This is simply not true.

Precedent Cases (A small sample)

Press Enterprise v. Superior Court: A_cc_§ g wind PM;|§, First Amendment and Common law

 

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Leucadia v. Applied Extrusions Techno|ogies: M

 

 

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Belo Broadcasting v. Clark: m
Globe Newspaperv. Superior: The ;

    

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Pansyv. Stroudsburg: Third rl

ln re Associated Press 162 F. 3d 503, 507 7th Circuit 1998, Grove Fresh Distributors v. EverFresh juice, Beef
lndus'try Antitrust Litigation 589 F. 2d 786, 789 Sth Circuit, United States v. Andreas, United States v.
Corbitt, United States v. Chaagra, United States v. Lohman, Marcus v. St. Tammany Parish School Board,
United States v. Cleveland, United Siates v. Davis, United States v. Carol|lo and Ford Motor Bronco ll MDL

judge jackson made the following statement; 'The Court recognizes that the movant sincerely believes
that he has information to share that bears on this cose, and that, understandabiy, he wishes to be heard.
There are many places and means available for a private citizen to express his views about matters of
public interest, but the fact is, the Court's docket is not one of them.' l completely disagree with this
statement and l believe that it is contradictory to the Constitution, First Amendment and speciiiceliy the
last sentence of the First Amendment land to petition the government for a redress of grievanYces.). The
courts have made lt impossible to seek]ustice. Knowledge ensures that there isjustlce. Knowledge keeps
people honest. We can't keep the sins of our government in the closet We must expose those sins.
Americans are being raped by their own government and the Federal judges are protecting the rapists.

Were should i be heard? Fox news, The New York Times, etc. Presldent George W. Bush lied to the world
about his reasoning for entering the second iraq war. He fraudulently told the world that iraq had
weapons of mass destruction and that Ai Qaeda was operating there. Both were lies and the media knew
it. The for-profit media wanted a war. (l wonder where judge jackson gets her news?)

judge jackson states: "tho Court's docket ic not one of thom. lt is the record of official proceedings related
to criminal charges brought by the United States against two individuals who are presumed to be
innocentl EMMMMWLM- Mv information is crucial tv the
defendants receiving a fair trial and to protect the Constitutional Righis of all Americans. We as a nation
cannot continue to allow criminal prosecutor misconduct

Attached is My Non-Domestic Stay Away Order for a false arrest for a non-domestic, non-violent, non-
drug misdemeanor for which l was never charged with a crime.

This is how far Mu|ler will go to harass and intimidate Federal Whistleblowers. Mueller intimated my
family, my friends, co~workers, etc Mueller slandered and defamed me so that l would be noncredible.
if he did this co me drink about what he is doing to Manafort and Gates. Here is the proof about Mulier's
criminal conduct and the egregious violation of my Constitutional Rights. By denying me my
Constitutional Rights you have denied ali Amerlmns their Constitutional Righrs. There has to be
transparency and accountability i would not have filed the motion ifsomeone else was the special
counsei. Mueller directly harmed me so tim l would be silenced, thereby depriving Americens of their
Constitutional Rights. He did it to deprive the Danziger and Glover defendants of their Gonsdtutionai
nghts and their right to a fair trial. How many witnesses has Mueller intimidated so far? How many has

he purchased?

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More than a third of those listed on the order were Federal Court Cierks and yet not one Federal judge
was listed. My Bishop in New Orieans was Aymond. Senai:ors Vitter and Landrieu. My Federal Fubiic
Defenders/Attomeys: Gary Schwabe and virginia Schlueter. FBi Direclior Robert Mueller. Feiiow Federal
Whistleblower Nancy Swan. The Ozanam inn, which is a homeless shelter where my wife and l
volunteered l could not go home because the Ozanam was within 100 feet of my home. This was
sadistlc. General Russei Honore. impeached Federal judge Thomas Porteous. Activist Tracie Washington.
Many of those listed were friends.

Mueller had me arrested on a Louisiana Warrant, not a Federai, placed in isolation for 11 days and
medicated against my wiii. When l wasiinaiiy released on bond i was ordered to ieavethe state of
Louislana so that i muid not be present for the Danziger Civil Rights trial.

Nobody will receive a fair trial if Robert Mueller is allowed to prosecute. This is a direct and malicious
violation of the Constitution and directly impacis ali Americans.

 

Mlmmar Beach, Florida 32550
504-715-3086
davidandrewchristenson@gmail.com

il com

 

  

 

 

David Andrew Christenson

 

 

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Attachm

CAT B

U.S. District Court
District of Columbia (Washington, DC)
CRlMiNAL DQCKET FOR CASE #: 1:17-cr-00201-ABJ Aii Defendants

Cm litie: USA v. MANAFORT otal Date Filed: 1007/2017

 

Date Filod # Docket Text

1109/2017 MTNUTEORDERgtanting§ZMotiootoModifyConditiomofReleaseasw
RICHARD W. GATES Ili. Defendantmay travel to the District ofColumbiamd stay
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Case: 17-30831

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' ` Case: 17-30831 Document 00514268351 Tage: 19 Date Filed: 12/11/2017

Attachment 3

C|erk Mark Langer November 30"‘, 2017
E. Ban'ett Prettyman Uniwd States Courthouse

333 Const!nmon Avenue, N.W.

Washington D.C. 20001

One day you will have to get lnto this war and not be standing on the side|lnes watching the demise of
Mankind.

Gods

 

David Andrew dzristenson

Box 9063

Miramar Beach, Florida 32550
504»715-3686
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Attachment 3

lodge aerylA. newell November 30"', 2017
U.S. District Court for the District of Columbia

333 Constitudon Avenue, N.W.

Washlngmn D.C. 20001

Onedayyouwi|| haveto¢etinw wiswarand notbe swndingonti'»esidelineswatchlngd\edemise of
Mankind.

Godspeed.

Si

David N\drew Christenson
Box 9063
Miramar Beach, Florida 32550

 

 

 

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"__“_ " Case: 17'-30831`"_[)“0<_:1jrhén`t: 00514268351 Page: 21 Date Filed: 12/11/2017

 

Attachment 3

C|erk Angela D. Caesar November 30"', 2017
U.S. District Court for the District of Columbia

333 Constlwtion Avenue, N.W.

Washington D.C. 20001

One day you will have m get into thls war and not be standing on the slde|lne watching the demise of
Mankind.

Godspeed.

Si

David Andrew Christenson

Box 9063

Miramar Beach, Florida 32550
504-715-3086
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Ca§é: 17-30831 Doéument100514268351 "F>`§g_e: 22 Date Filed:12/11/2017

Attachment 3

judge Memck B. Gariand chember 30“‘, 2017
E. Ban'ett Preuyman United States Courthouse

333 Constitution Avenue, N.W.

Washlngton D.C. 20001

One day you will have to get into this war and not be standing on the sidelines watching the demise of
Mankind.

God
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David Andrew Christenson
Box 9063
Miramar Beach, Flon`da 32550
504-715-3086
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Attachment 4

UNlTED STATES Di$i'RlCi' COURT
THE Di$i'RiCi OF COLUMB|A
United States of America Criminai Docket No. 1:17-cr-201
(ABl/DAR)
v. judge Amy Berman lackson
Paul i. Manafort and Richard W.
Gates iii
Defendants
(Please use the title that will get this docketed into the public record)
Friend of the Court Brief
Amicus Brief
Appeal

Memorandum in Support of Motion in lrrtervene.

Attachment 1: A letterto Judge iackson.
Attachment 2: The DOJ/OPR report concerning criminal prosecutor misconduct in the Senator Ted

Stevens case. We have Obamacare because of the conviction The conviction resulted in a two-vote
swing in the Senate. Criminai prosecutor misconduct played a major role in our Democra¢:y.

Attachment 3: Special Counsel report to the court about the prosecutor misconduct in the Senator Ted
Stevens cose.

Attachment 4: My Memorandum 60 filed with the DC Appeal Court concerning the Senator Ted Steven
case.

Attachment 5: The DOJ/OPR report concerning the criminal prosecutor misconduct in the Eastern
District of louisiana District Court, Fred Heebe was never indicted because ofthis report. Americans
were truly hanned. Heebe's partner, Dominick Fazzio, had an indictment a second indictment and a
third indictment and all were dismissed with prejudice The biggest civil rights cases were overturned on
appeal. Mueller was a part of all of thls_

Attachment 5: .ludge Engeihardt’s Order and Reason why a new trial was order in the Danziger case. This
is about criminal prosecutor misconduct

Attachment 6: My Motion w intervene in this case was docketed by the 5"' Circuit.

Atladrment 7: My Motion to intervene in this case was docketed by the Eastern District of Louisiana
District Court.

Precedent Cases (A small sample)

Press Enterprise v. Superior Court: Access to Criminai Pmceedings, First Amendment and Common Law
guarantee the public's right of access to criminal judicial proceedings

Nixon v. Wamer Communications: Tne courts recognize the public’s right to inspect and copy judicial
records.

Washington Post v. Robinson: The public has an unquestionable right to information regarding alleged
prosecutor misconduct. i'he term is "alieged'. There is no doubt the Federal prosecutors have
committed criminal acts.

Leucadia v. Applied Exo'uslons Techno|ogies: Accss

Belo Broadcasting v. Clark: Access
Globe Newspaper v. Superior: ihe right of the public to monitor the government by having access

 

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Attachment 4

Richmond Newspaper v. Virginia: Without publicity, all other checls are insufficient

valley Broadcasting v. United States District Court: Federal Whistleblowers, Military Oflicers, iournalists.
etc. play an indispensable role in gathering and disseminating lnfonnatlon to the public.

Landmark Communications v. Virginia: To guard against the miscarriage of justice. To stop prosecutor
misconduct belore, during and after.

Cox Broadcasting v. Cohn: My pleadings will guarantee a fair trial.

Pansy v. Simudsburg: Third parties have a right to intervene

in re Associated Press 162 F.3d 503, 507 7"' Circuit 1998, Grove Fresh Distributors v. EverFresl\ iuice,
Beef industry Antitrust litigation 589 F.2d 786, 789 5"' Circuit, United States v. Andreas, United Stats v.
Corbitt, United Stats v. Chaagra, United States v. Lohman, Marcus v. St. Tammany Parish School Board,
united Stams v. Cleveland, United States v. Davis, United States v. Caroiilo and Ford Motor Bronco ll

MDL

 

David Andrew Christenson

Box 9063

Miramar Beach, Fl. 32550
504-715-3086

davidandrewch ' n il. m
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CERTI FlCATE OF SERV|CE

 

 

David Andrew Christenson

 

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Attachment 4

lodge Amy Berrnan .iaclson November 22"‘, 2017
\J.S. District Court for the District of Columbia

333 Constl‘ll.ltlon AVEI’\U€, N.W.

Washington D.C. ml

By censoring me you are denying all Americans their Constitutional Rights. our greath Constitutional
Right is to be heard and to tile a grievance against the government

Amendment l -
Congress shall make no law respecting an establishment of religion, or prohibiting the free exercise
thereof; or abridging the freedom of speech, or of the press; or the right of the people peaceably to
assemble gdnmfmdexmlw°mmm

i am a Federal Whistleblower, published author and journalist, military officer and an Ameri-n. l took
an oath to protectthe Constitution. The Federal Government removed me from the lntemet. l had a
website, Faceboolt account, Twitter account, YouTube channel with over 750 videos, etc. and all have
been removed. My two books that were placed into the Library of Congress with Library of Congrss
Contml Numbers (LCCN) have been removed and so has all referencesto the two bools.

All l asked was for the_court to put my Motion to intervene into the public court record. l am directly
connected co Special Counsel Robert Mueller and more lmportantlyl am a victim of his criminal
activities and his criminal activities against me personal|y. l provided the court with documented, factual
records that could be confinned. Vou and your family are victims of Mueller's criminal activities but you
don't know that because l have been censored. You have harmed the people you love.

You played a part in censoring me. There is precedent in criminal cases for me to intervene You went

one step further and denied me the right to appeal. ¥ou have mused catastrophic harm to your fellow
Americans. your family end yourself. Why was lt so important to silence me? Why did you participate? l
beg you on behalf of my fellow Americans to publicly docket the attached pleading. Americans deserve

to know the truth.

if you won't docket the pleading than please allow me the Constitutional Rightto Appeal.

 

Miramar Beach, Florida 32550
504-715-3086

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Attachment 4

 

DEPARTMENT OF JUSTICE

 

OFFICE OF
PROFESSIONAL RESPONSIBILITY

REPORT

Investigation of allegations of prosecutorial misconduct in
United States v. Theodore F. Stevens, Crim. No. 08-231
(D.D.C. 2009) (EGS)

August 15, 201 1

NOTE: THIS REPORT CONTAINS SENSITIVE AND CONFIDENTIAL
INFORMATION. DO NOT DISTRIBUTE THE REPORT OR ITS
CONTENTS WITHOUT THE PRIOR APPROVAL OF THE OFFICE OF
PROFESSIONAL RESPONSIBILITY.

 

 

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IN THE UNITED STATES DlSTRlCT COURT
FOR THE DlSTRlCT OF COLUMBIA

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IN RE SPECIAL PROCEEDWGS Misc. No. 09-0198 (EGS)

 

Pursuantw the Court's Ordcr, dated February 8, 2012,the \mdcrsigned hereby files
thc chott to Hon. Emmet G. Sullivan of [nwsligption Conductcd Pursuant to the Court's Ord¢r,
dated April7, 2009, and anAddondumcontaining comments andobjeciionstothe chort which
wercpmvidcdto thc\mde:signcd by the subjects oftheinvestigation, JosephW. Botiini, lames

A. Goeke, Nicholas A. Ma:sb, Brenda K. Morris, Edward P. Sullivan and William W. Welch lII,

on March 8, 2012.
Repectfully submittcd,
/"_"`
Henry F. Schuelke ill (D.C. Bar no. 91579)
Special Counsel
Wiiliam Shields (D.C. Bar no. 451036)
Janis, Schoelke & Wechsler -
Washington. D.C.

Datod: March 15, 2012

 

Case 1:18-Cv-00011-AB.] Document 15 Filed 01/26/18 Page 34 of 89
Ca§é: 17-30831 Document 00514'2_584351 Page: 28 Date Filed: 12/11/2017

 

Attachment 4

 

 

OFFICE OF
PROFESSIONAL RESPONSIBILITY

REPORT

Invesligation of Allegations of Professional Misconduct
Against Former Assistant United States Attorneys Salvador

Perricone and Jan Mann, United States Attorney’s OHice
for the Eastern District of Louisiana

DECEMBER 20, 2013

NOTE: mrs REPORT coN'rAINs mFoRMATon FILED UNDER sEAL
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Case 1:18-Cv-00011-AB.] Document 15 Filed 01/26/18 Page 35 of 89
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Case 1:18-cv-OOOll-AB.] Document 15 Filed 01/26/18 Page 36 of 89

 

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Attachment 4

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Motion m intervene
November 1", 2017

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Attachment 5

UNlTED STATES COURT OF APPEAlS
FCR THE DlSTRlCr OF COLUMB|A C|RCU!T

David Andrew Christenson, Movant USCOADCC: 17->0000¢
(Please assign)

United States of Amerlca DCDC Criminai Docket No. 1:17-cr-201
(ABl/DAR)

v. .ludge Amy Berman jackson

Paul l. Manafort and Richard W.
Gates lll

Defendanis

Notice of Appeal
November 7"', 2017

Please reference the atwched letter in District of Columbia District Court judge concerning the criminal
violation of my, and all Americans, Constitutional Rights to be Heard.

Special Counsel Robert Mueller criminally vioiaved my Constitutional Rights and thus criminally violated
ali American's Constitutional Righis.

Mueller is a pathological criminal who is hell bent on destroying Amerim. His cover up of what took
place in New Orieans signals fhe end of our country. He is the trigger man that murdered Mankind.

 

Box 9153

Miramar Beach, F|. 32550
504-715-3086
drewch n ‘ . m

 

 

David An rew Christenson

 

Case 1:18-cv-00011-AB.] Document 15 Filed 01/26/18 Page 40 of 89
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Attachment 5

Chief judge Beryi A- Howell

District judge Emmet G. Sullivan
District judge Coi|een Koilar-Kotei|y
District judge james E. Boasberg
District judge Amy Berman jackson
District judge Rudolph Contreras
District judge Keianj"i Brown jackson
District judge Christopher R. Cooper
District judge Tanya S. Chutkan
District judge Randoiph D. Moss
District judge Amit P. Mehta

l will iile Motions to intervene in every use that Special Counsel Robert Mueller files. All l am asking ls
that the Motion to intervene be dodreted and reviewed. The Constitution, the First Amendment and
specili.lly the last sentence of the First Amendment gives me that RlGi-l`l'. Failure to docket my Motion
to intervene is censorship that harms all Americans. l will also appeal if l am not heard. The American
People deserve m know the truth.

 

Time and statistic are on my side. The truth will come out.

Trump will not allow Mueller w win. i feel as if Mueller was intentionally chosen because of his criminal
activities in New Orleans. A sick way of saying lt is that Trump holds all the Trump llrds.

We are talking the Genocide of Mankind. This is not a prediction or prophecy but a mathematical
certainty.

h: mm'. ia.uandrewChrinn
htt :www. demi .ed

Godspeed-

Sincerely,

David Andrew Christean

Box 9063

Miramar Beach, Fl. 32550
504-715-3086
davidandrewd\ristenson@gmail.com

COPY FOR THE jUDGE TO REFERENCE

UNlTED Sl'ATES DlSTRlCT COURT
THE DlSTRlCT OF COLUMB|A
United States of America Criminai Docket No. 1:17-cr-201
(ABl/DAR)
v. judge Amy Berrnan jackson

Paul j. Manafort and Richard W.
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Attachment 5

Defendants

Motion to intervene
November 1“, 2017

it is imperative that die court entertain this Motion to intervene §Elgl Counsel Robert S. Mueller ilik
~ 1 . Mueller has no credibility

and lt is very important that the court know that. Everything that l am presenting or stating' is
documented, factual and it can easily be confirmed. 99% ofwhat i am presenting can be confirmed
though court records. Mueller uses every means possible to intimidate witnesses and that includes
lncarcerating them. Mueller had an FBi Agent put a loaded gun, with the safety off and hammer cocked,
to my head. The agent informed me that he could kill me and that nothing would happen to him. He told
me to stop with my investigations or he would kill me.

 

in 2010 FBi Director Robert S. Mueller lii had me classiiied as a terrorist. This criminal action was done
so that he could invoke the Patriot Actfor surveillance purposes. On March 1$"‘, 2011 he had me

arrested for cyber stalklng an FBi Agent. . _ , t .
ME. Al.l. 0F THE ClthlNAl. TliA'l’ l Fl lN lN WERE WER'I'URNED 0N
AFPEAL Mueller was directly responsible for the murder of Federal Whistleblower Coast Guard
Commander William Goetzee. Mueller had him arrested in the same fashion that he used against me.
During his court appearance he was strapped to a wheelchair and tased every time he tried to talk.
Mueller publicly stated that Goetzee died by stuffing toilet paper down his throat. Four months before i
was held in the same cell and there was no toilet or toilet paper. (ED|.A Case 2:12-cv-01910-SSV-1CW)

 

l am a Federal Whistleblower who is extremely credible l am an Air Force Academy grad with a Master's
degree from the Unlversity of Arkansas that served his country with distinction as an Air Force Officer.
My classmate from the Air Force Academy is the Secretary ofthe Air Force. The Vice Chairman of the
Joint Chiefs of Staff was my ciassmate as weil. The Chief of Staff of the Air Force was a year behind me.
The Admirai in charge ofthe Navy SEALS is an Air Force Amdemy grad who was a year behind me. My
cousin is Vieo Admira| .lohn Christenson and he is currently the Miliury Atbché to NATO. My roommate
from the Air Force Academy is married to the Director of Finance and Accounting Services for the
Department of Defense. l was in Black Ops and flew an assortment of Airpianes. l flew ciassr|ied missions
as well as support missions for the President, the White House, Secret Service, etc.

Attachment 1: 'i'nis is the first press release after my arrest. All of my communications were done
thought court filings and though official government email addresses.

Attachment 2: l was an'ested on a Louislana Warrant and not a Federal Warrant. They originally asked
for a $5®,0¢.`0.00 bond. Look at items 3 and 9. Neither is a recommendation or condition of bond. in
order to be released i had to leave the state and receive treatment for an unknown lllness.
Attachment 3: Look very carefully at the names on the Non-Domestic Stay Away Order. i did not know
66 of the 74. One third were court cierks. Only two out of the 74 knew that they were included in the
order, none of the others did and that included two US Senators. Mueller is on the list.

Attachment 4: l was represented, against my will, by a US Attorney who gave away all of my rights.
Attachment 5: A pleading that was docketed this week with the 5‘* Circult. There is critical evidence in
this pleading as w Mueller's criminal conduct.

 

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Attachment 5

The United Stats Supreme Court and The Katrina irran
A Prelude/Reference Book/Appendix
Book 7
By David Andrew Christenson
|SBN 978-0-9846893-8-5 Hardback SCKV
|SBN 978-0-9845893-9-2 EBook SCKV
LCCN 2012933074
Copyright 1~724163643
Persimmon Pubiishing
Box 6374
Miramar Beach, Florida 32550
www.therelugagtMlgt.§gm

An Epic Constitutional Crisls. l am talking about the political destruction of all three branches (Execuu've,
judicial and Legislative) of our Federal Govemment. One hundred and fifty live million Americans and
Canadians may be infected with The Kairina virus. Did the United States Supreme Court participate in
the criminal cover-up? Misprision is a crime/felony. in simple terms it means that you had knowledge of
a crime and did nothing. Did the Supreme Court have knowiedge? YES! l gave them the knowledge The
real question is: what did the Supreme Court do with the knowledge ofThe Katrina Vlms and the cover-
up?

There was no simple way to present this story. l fully acknowledge that the material ls presented in an
incoherent manner. What you are reading is a compilation of my communications with the Supreme
Court since my arrest for cybersialking FBi Special Agent Steven Ra'yes on March 15*", 2011. lt must be
emphasized that l was arrested on a Louisiana Warrant (nota Federal Warrant as one would mrpect.)
and i have never been charged with a crime. A Louisiana Search and Seizure Warrant was used by the
FB| to steal my evidence, documentation, etc. of what happened in New Orleans after Hurricane Katrina.
in simplistic terms chemical warfare contaminates were released from DOD and CIA classilied facilities
The United States Military conducted operational missions in violation of Federal Law and killed
Americans. 1500 Americans are still missing. Were the contaminated bodies recovered, analyzed and
burned in Federal Government incinerar:ors? Are some ofthe bodies being kept alive in vegetative states
so that the Federal Government con study the long term effects of the Katrina Virus? (Remember the
Syphilis Studies in Alabama and Guatemala.)

This is a Prelude/Reference Book/Appendix. The end of the story has not been written. judgment must
not be passed upon the Supreme Court at this time. T'ne Supreme Court may have actually protected
me. Think about it. Who could the Supreme Court have turned to? Congress and the Executive Branch
are responsible for the murder, genocide, treason and crimes against humanity. The only option for the
Supreme Court may have been to provide me with the protection needed, co not only uncover the truth
about the Katrina Virus, but to bring it to the attention of American and Canadian people

 

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Case:17-30831 Document:00514268351 'Page: 37 DateFiled:12/11/2017

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Attachment 5

Supreme Court Docket
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in Re DavidAndrew drdscenson, Appllrznt App|iation (16A896) for an extension of time whitin which
to comply with the order of November 28, 2016, submitted to iusiice Thomas.
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to comply with the order of December 5, 2015, submitted co The Chief .iusb'ce.
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Titie: in Re David Andrew Christenson, Petitioner v.
ln Re DavidAndrewChrlstenson, Petitioner Petition for a writ of mandamus and/or prohibition and
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in Re DavidAndrew dutienson, Petitioner Petition for a writ of mandamus and/or prohibition and
motion for leave to proceed in forma pauperis hied. (Response due November 3, 2016)
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Titie: David Andrew Christenson, Pedtloner v. United States
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writ of certiorari and motion for leave to proceed in forma Party name: DavidAndrew dlrlsterlson
Docket for 14-1@77
'iitle: in Re David Andrew Christenson, Petitioner v.
in Re DavidAnde\v Christenson, Politioner Petition for a writ of mandamus and/or prohibition
and motion for leave to proceed in forma pauperis hied. (Response due .iuiy 6, 2015)

 

 

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Attachment 5

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Attachment 5

UNlYED STATES DlSl’RlCT COURT
THE DlSl'R|CT OF COLUMBIA
United States of Ameria Criminai Docket No. 1:17-cr-201
(Ml/DAR)
v. ludge Amy Berman ladson
Paul l. Manafort and Rlchard W.
Gates ll|
Defendants
Notice of Appeal

Novembér 7‘-", 2617

Please reference the attached letter to District of Columbia District Court judges concerning the criminal
violation of my, and all Americans. Constitutional Rights to be Heard.

Special Counsel Robert Mueller criminally violated my Constitutional Rights and thus criminally violated
all American's Constitutional Rights.

Mueller is a pathological criminal who is hell bent on destroying America. His cover up of whattook
place ln New Orleans signals the end of our country. He is the trigger man that murdered Mankind.

 

Miramar Beach, Fl. 32550
504-715-3086
davida ' n ll.com

 
   

Iherebycertifythaton Novem " ' 1 ~,~'ingwlththe ClerkofCourtand
served the pleadin o _» » . 'f ail and irst<:lass mal|.

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David Andrew Christenson

     

 

 

 

 

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Case: 17-30831 Document 00514268351 Page: 40 Date Filed: 12/11/2017

Attachment 6

UNlTED STATES DlSTRlCT COURT

THE DlSTR|Cl' OF COLUMB|A

United States of America Criminai Docket No. 1:17~cr-201
(ABl/DAR)
v. ` Judge Amy Berman .lackson
Paul .l. Manafort and Richard W.
Gates ill
Defendants
Motion for Reconslderation

Please reference the attachments Multiple courts have and will receive and docket the Motion to
|ntervene that l filed in this case. You an see the date time stamps.

The Constitution is very clear on my right to file a grievance ‘!our opinion about thee being nothing in
the criminai me that allows a third party to intervene is absolutely wrong and besides the &\i‘.stitution
is the law. Media organizations do it all thetime. There are friends of court briefs and amicus briefs. During
sentencing third parties file letters and recommendation The First Amendment is the foundation for a
fair and impartial judiciary. All l wanted was to be publicly heard so that the American People knew the
truth about Robert Mueller. You censored me and thus all Americans. All you had to do was docket the
pleading. l am directly connected to the Special Counsel and his criminal activities. l am also a contributing
factor for all of the criminal cases that were connected to me in New Or|eans of being overturned on
appeal. what a waste of judicial resources, time and money. All you had to do was make the pleading
public so that America could know the truth. You did not need to deny my motion because once it was
publicly documented then l was through. l am asking you to reconsider because the pleading has and will

be publicly docketed in other courts. Did you ever read the Horn report? You should.
Godspeed
Sincerely,

David Andrew Christenson

Box 9063

Miramar Beach, Florida 32550
504-715-3086
davidandrewchristenson@gmail.com

dchrlstenson£ hotmall.com

CERTiFlCATE OF SERV|CE
l hereby certify that on November 16”', 2017 l filed the foregoing with the C|erk of Court and
served the pleading on all counsel of record by e-mail and first-class mail.

 

David Andrew Christenson

 

 

Case 1:18-Cv-OOOll-AB.] Document 15 Filed 01/26/18 Page 47 of 89
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United States ofAn\erica Criminai Dod¢et lb. 1:17-\:’-101
lABl/DAR)
v. ltzdgeAmyBerrnannchon
Paull. Manafortand lid'¢ard W.
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Motion to intervene
November 1", 2017

   

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Godspeed

David And'ew

Box 9063

Miramar Beach, Florida 32550
504-115-305

 

 

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Attachment 7

UNlTED STATES DlSTRlCT COURT
THE DlSTRlCT OF COLUMB|A
United States ofAmerlca Criminai Docket No. 1:17-o'-201
(ABJ/DAR)
v. lodge Amy Berman .lackson
Paul l. Manafort and Richard W.
Gates lli
Defendants

Motion to intervene
November 1‘, 2017

lt is imperative that the court entertain this Motion to lntervene. §g§i_ai gum ngert S. Mueller ill §
a g`minai ga_t uses whatever means M, rfiLeEl and lg§, to win a case. Mueller has no credibility
and it is very important that the court know that. Everything that l am presenting or stating is
documented, factual and it can easily be confirmed. 99% ofwhat l am presenting can be confirmed
though court records. Mueller uses every means possible to intimidate witnesses and that includes
incarcerating them. Mueller had an FBi Agent put a loaded gun, with the safety oif and hammer cocked,
to my head. The agent informed me that he could kill me and that nothing would happen to hlm. He told

me to stop with my investigations or he would kill me.

in 2010 FB| Director Robert S. Mueller ill had me classified as a terrorist. This criminal action was done
so that he could invoke the Patriot Act for surveillance purposes. On March 15"‘, 2011 he had me

arrested for farber Sfalkins an FBI Asem. MM§§BMMMLM£&HAEIQ
nw ME. gas mt nominal M marc Fu.eo Monon§giom m, went avenuan on

LP_P§AL_Muelier was directly responsible for the murder of Federal Whistleblower Coast Guard
Commander William Goetzee. Mueller had him arrested in the same fashion that he used against me.
During his court appearance he was strapped to a wheelchair and tased every time he tried to talk.
Mueller publicly stated that Goetzee died by stuffing toilet paper down his throat Four months before l
was held in the same cell and there was no toilet or toilet paper. (EDLA Case 2:12-cv~01910-SSV-JCW)

l am a Federal whistleblower who is extremely credible. l am an Air Force Academy grad with a Master's
degree from the University of Arkansas that served his country with distinction as an Air Force Officer.
My classmate from the Air Force Academy ls the Serretary of the Air Force. The ch Grairman of the
Jolnt Chiefs of Staff was my classmate as weil. The Chief of Staff of the Air Force was a year behind me.
The Admlral in charge of the Navy SEALS is an Air Force Academy grad who was a year behind me. My
cousin is ince Admiral .|ohn Christenson and he is currently the Military Atiaché to NATO. My roommate
from the Air Force Aademy is married to the Director of Finance and Accounting Servioes for the
Department of Defense. i was in Black Ops and flew an assortment of Alrpianes. l hew dassified missions
as well as support missions for the President, the White House, Secret Service, etc.

Attachment 1: This is the first press release after my arrest. All of my communications were done
thought court filings and though ofliclal government email addresses.

Attachment 2: l was arrested on a Louisiana Warrant and not a Federal Warrant. They originally asked
for a $500,000.00 bond. Look at items 3 and 9. Neither ls a recommendation or condition of bond. in
order to be released l had to leave the state and receive treatment for an unknown illness.

 

 

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Attachment 7

Attachment 3: i.nokvery carefully at the names on the Non-Domestic Stay Away Order. l did not know
660fthe74.0nethirdwerecourt derks. Onlytwo outofthe 74 knewthatthey were included inthe
order, none ofthe others did and that included two US Senators. Mueller is on the list.

Attachment 4: l was represented against my wlll, by a US Attorney who gave away all of my rights.
Attachment 5: A pleading that was docketed this week with the 5"' Circult. There is cridcai evidence in
this pleading as to Mueller's criminal conduct

 

Miramar oeach, 'r'i. 3 au
504-715-3%6
davida r

 

 

David Andrew Christenson

 

 

Case 1:18-Cv-00011-AB.] Document 15 Filed 01/26/18 Page 53 of 89

 

 

Case:17-30831 Document:00514268351 Pa§e§ 47 Date`Fi|éUi§YlIl§-(Fl`7

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E‘.'nythm New Ori¢ans

New Orleans man booked on two counts of cyberstalking, TV
station reports

Tlms»Piayune Stafr By Timeo-Picayune Staff

Fo|low on Twitt:er

on March 17, 2011 at 8:26 AM, updated March 17, 2011 at 10:28 AM

A New Orieans man is ln jali, booked on two charge of cyberstaiking alter he allegedly sent threatening
e~ma|ls to an FBi agent, WDSi.l-TV reports

David Christenson, 53, was arrested Tuesday and remains jailed on a $300,000
bond, court records show.

Christenson allgedly sent the e-malls alter an FBI agent interviewed him last
month about 'lnappropriate' e-malls Christenson sent to judges and their
empioyees, the station reports.

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lust what are inappropriate emails sent to official email addresses? Are
inappropriate emails illegal? The 15t Amendment clearly states that an
American has the right to petition the Government. NO CHARGES WERE
EVER FlLED AGAlNST DAVlD ANDREW CHRlSTENSON. THE EMAlLS
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Attachment 7

STATE OF LOUiSlANA ORLEANS PAR!SH CR!M|NAL COURT
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Case 1:18-Cv-OOOll-AB.] Document 15 Filed 01/26/18 Page 55 of 89

 

 

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Attachment 7

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Case 1:18-cv-00011-AB.] Document 15 Filed 01/26/18 Page 56 of 89

Case: 17-30831 Document: 00514268351 Page: 50 Date Filed: 12/11/2017

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Attachment 7 ” `~

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Case 1:18-Cv-00011-AB.] Document 15 Filed 01/26/18 Page 59 of 89

 

 

Case: 17-30831 Document 00514268351 Page: 53 Dai€ Filed: 12/11/2017

Attachment 7 ;, v

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NOW\||'l’Omuchomsih¢Snwofwulshm,ihrwgn misundemlgmdmnanl
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Cue No. 16-30918

]N RE: DEEPWATER HORIZON

LAKE EUGENIE LAND & DEVEIDFMENT, INCORPORATED;
Plainiid`s

 

v.
BP EXPLORAT[ON & PRODUC'IION, INCORPORA'IED; BP AMERICA
FRODUCHON COMI’ANY; BP, P.L.C.,

Defendmts-Appelleel

DAVlD ANDREW CHRIS'IENSON,
Movant - Appellmt

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David
Box 9063
Miramar Beach, FL 32550

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David Andrew Christenson

Box 9063

Miramar Bed, Florida 32550
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UNlTED STATES DlSTRlCl’ COURT
THE DlSTRlCi OF COLUMBlA
United States of Ameriai Criminai Docket No. 1:17-cr-232
v. Judge Rudolph Contneras
Michael T. Flynn
Defendant

Supplemental Motion to lntervene/Friend of the Court Brief/Amicus Brief

l have been warning you about this for years. The criminal activity by the Department ofiustice in New
Orleans during and after Hurrlcone Katrina has spread.

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and look atwhat he did. l was in of a
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THE AMERICAN EOFLE DEERVE BE'ITER. M deserve the truth and |ustlce.

Math and time will expose the truth, the crimes and the Genocide of Mankind. There is no escape.
Trump is a rabid dog and he will do whatever it takes to save himself.

The Federal ludiciary has failed to protect the Constitution and thus the American People.
Where there is smoke there is lire.

The spotlight is constantly being moved away from the truth.
The cover-up accelerates, exponentia|ly, in its growth.

House intel committee threatens DO.l, FB| with contempt in Russia election meddling probe
By Andrea Noble- The Washington ‘iimes- -Sunday, December 3, 2017

 

House Republians could draft a resolution to hold Deputy Attorney General Rod Rosenstein and FBl
Director Christopher Wray in contempt of Congress as soon as Monday for failure to turn over
documents sought as part of an intelligence committee investigatlon.

The move comes after what House Permanent Select Commitcee on intelligence Chairman Devin Nunes
describes as months of stonewalling on the part of the lustice Department and the FBl as his panel
sought access to records related to federal investigators use of the salacious Trump dossier compiled by
Br'rtish ex-spy Christopher Steele.

Mr. Nunes said the agencies suddenly became more forthcoming with some information when it was
reported over the weekend that special counsel Robert Mueller had removed one of the FBl's top
Russian counterinteiligence investigators from his team after an internal probe found the agent had sent
messages that showed possible bias for i-lillary Clinton and against Presldent Trump.

According to the special counsel’s office, Peter Strzok, who led the investigation of Mrs. C|inton's email
server in 2016, left the special counsel’s team last summer. He sent the text messages to Lisa Page, an
FB| lawyer who also leftthe Mueller investigation this past summer.

 

 

 

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Mueller Removed Top Agent in Russia inquiry Over Possible Anti-Trump Texts
By MICHAEL S. SCHMiDT, MATi' APUZZO and ADAM GOLDMANDEC. 2, 2017

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WASHlNGTON - The special counsel, Robert S. Mueller ill, removed a top F.B.l. agent this summer from
his investigation into Russian election meddling after the Justice Department's inspector general began
examining whetherthe agent had sent text messages that expressed anti-Trump political views, according
to three people briefed on the matter.

The agent, Peter Strzok, is considered one ofthe most experienced and trusted F.B.i. counterintel|igence
investigators He helped lead the investigation into whether Hi|lary Clinton had mishandled classified
information on her private email account, and then played a major role in the investigation into links
between Fresident Trump's campaign and Russia.

But Mr. Strzok was reassigned this summer from Mr. Mueller's investigation to the F.B.l.'s human
resources department where he has been stationed since. The people briefed on the case said the
transfer followed the discovery of text messages in which Mr. Sirzok and a colleague reacted to news
events, like presidential debates, in ways that could appear critical of Mr. Trump.

New Orleans is at the center of a key federal pursuit

Updated on August 8, 2011 at 11:34 AM Posted on August 8, 2011 at 11:00 AM

By Brendan McCarthy, The 'i'imes-Picayune

h : www.nola. crime index n w r ans ` t center .html

in lanuary 2009, Bemstein teamed with agents from the local FBi office. They held a voluntary interview
with NOPD Sgt. Arthur Kaufman, who had handled the police investigation He offered a narrative of
events that seemed to clash with the facts, raising red flags with William Bezak, a young FBi agent who
had been named lead investigation

Bezak was a mechanical engineer by trade who before joining the FB| had helped test and fine-tune
military hellcopters. The New .lersey native’s first posting out of the academy in summer 2006 was New
Orleans. He was chosen for the Danziger case because he was young, energetic and highly organized, his
boss, Welker recalled. And, perhaps most important, Bezak had no allegiances to anyone in local law
enforcement; he knew no NOPD officers He had only a ”very vague” understanding ofthe shooting when

he began.

RULE OF U\W

Trump Court Nomlnee Upheld Rights of Police Against Holder DOJ Misconduct

B¥ .l. CHRlSTlAN ADAMS SEPTEMBER 29, 2017

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Presldent Trump has nominated a slate of solid picks for the federal bench, including a new list of
nominees this week. Among them is Kurt D. Engeihardt. Trump nominated Engeihardt to the Fifth Circuit
Court of Appeals, a district that covers the area from Alabama to the Rio Grande. Engeihardt already
serves as a United States District Court judge in New Orleans. Engeihardt will be familiar to Pl Media
readers. He is the judge who wrote a scathlng 129-page order bilstering die misconduct of lawyers at the
iustice Department's Civil Righis Dlvision and the local New Drleans U.S. Attorney's Office in a prosecution

 

 

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of New orleans police officers His order offers a look behind the curtain of some of the worst ideological
misconduct that occurred at the Obama DOi. Misconduct may be an inadequate word to describe the
behavior of DOJ lawyers, and Engeihardt saw it all up close. See Pi Medla's ".iustlce Dept. Lawyer Karla
Dobinski‘s Misconduct Sends Cops to Prison," or Hans von Spakovsky writing at National Review:
'Grotesque DOJ Misconduct'. Engeihardt reserved some of his strongest language to criticize what he
called "shockingy coercive tactics" of Bezak in approaching a potential defense witness, officer Heather
Gore. Citing Bezak's testimony, Engeihardt recounted how the FBi agent first looked for Gore at her home,
and found her later at a police station. There, Bezak told Gore that she had a nice house, asked about
Gore's tripiet daughters and 'advised she would be deprived of them as a result of her lying."

Engeihardt then challenged Bezek's strong-arm tactics, noting that Gore has not been charged with any
crime. The judge also said at least three witnesses defendants called at trial "refused to appear under
threats from (the Department of lustice) that they would be prosecuted for perjury as a result of their
earlier grand jury testimony.' The judge said "twenty-six months later, not one of these three defense
witnesses has been charged with any crime whatsoever." Mosce said all these assertions, and the
established record of prosecutorial misconduct, could prompt defense attorneys to depose all these
witnesses to see if their testimony, or alternatively their decisions not to testify, was a result of
government coercion. Danziger Bridge Trial news leaves residents questioning the justice system
Yesterday, U.S. District ludge Kurt Engeihardt granted a new trial for five former New Orleans Police
Department officers convicted in the Danziger Bridge shooting and the subsequent cover-up. Many
residents are feeling deprived of justice after hearing the news. "l’hey can also all those defense
witnesses back and they can request immunity for them so they would not be afraid to testify this time,"
Mosca said. Clarke noted that Engeihardt also criticized what he perceived to be lenient deals government
witnesses got. That's part of the criminal justice system, he said, which gives prosecutors "tremendous
power' to offer such deals "But there's a danger in this type of system, that people - on their own volition
or through coercion - offer false testimony to help themselves. Prosecutors always have to be skeptical
of what they're told by people looking for a deal,” Clarke said. ”Ceri:ainly the defense is going to tryto use
what's written (ln the order) to try to get evidence thrown out. They'll argue tesv'mony is tainted."

Godspeed
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Miramar Beach, Florida 32550
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David Andrew Christenson

 

Case 1:18-Cv-00011-AB.] Document 15 Filed 01/26/18 Page 84 of 89
Case: 17-30831 Document 00514268351 'Page: 78 Date Filed: 12/11/2017

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Clerk Angeia D. Caesar Becember 4:', 2017
U.S. District Court for the District of Columbia

333 COn$Iitutloi\ Aveliue, N.W.

washington o.c 20001

The clock is ticklng. it might be to late for justice w be served.

Godspeed.

David Andrew Christenson
Box 9063

Miramar Beach, Florida 32550
504-715-3086

davigndrewchrlstenson@gmail.com
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Case 1:18-Cv-00011-AB.] Document 15 Filed 01/26/18 Page 85 of 89

 

 

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lodge Merridr B. Garland December 4“‘, 2017
E. Barrett Prettyman United States Courthouse

333 Constitution Avenue, N.W.

Washlngton D.C. 20001

The clock is ticking it might be too late for justice to be served.

 

Box 953
Miramar Beach, Florida 32550
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judge Beryl A. Howeli December 4"', 2017
U.S. District Court for the District of Columbia

333 Constitution Avenue, N.W.

Washington D.C. 20001

The clock is ticking. it might be too late forjustice to be served.

 

 

David Andrew nstenson

Box 9063

Miramar Beach, Florida 32550
504~715-3086

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U.S. District Court for the District of Columbia
333 Constitution Avenue, N.W,

Washington D.C. 2(!)01

The clock is ticklng. it might be too late forjustice to be served.

Godspeed.

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And ristenson
Box 9063
Miramar Beach, Florida 32550
504»715-3086

davidandrewdiristenson@g@i|.com
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'Page: 81 Date Filed: 12/11/2017

December 4'*', 2017

 

 

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C|erk Mark Langer December 1’*, 2017
E. Barrett Prettyman United States Courthouse

333 Constitution Avenue, N.W.

Washington D.C. 20001

Please review. took at what iudge iacbon did to my Notices of Appeal and compare thatto her docket
entry of November 29th, 2017. She acted as an Appeal Judge and a District Court Judge and denied both
of my Notices of Appeal. Why does she state in the entry that l can appeal? Why did she lie about the
pleadings? l take responsibility for what l do.

One day you will have to get into this war and not be standing on the sidelines watching the demise of
Mankind.

Si

David Andrew Christenson
Box 9063
Miramar Beach, Florida 32550
504-715-3086

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